Case 1:21-cr-00039-TSK-MJA Document 49 Filed 10/25/21 Page 1 of 5 PageID #: 109



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                Crim. Action No.: 1:21-CR-39-1
                                                           (Judge Kleeh)

 CLARISSA MOSLEY,

                   Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 48],
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On   September     28,    2021,    the   Defendant   Clarissa   Mosely

 (“Mosley”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Two of the Indictment, charging her with Possession of Counterfeit

 Obligations, in violation of Title 18, U.S.C., Section 472.               This

 Court referred Defendant’s plea of guilty to the magistrate judge

 for the purpose of administering the allocution, pursuant to

 Federal Rule of Criminal Procedure 11, making a finding as to

 whether    the   plea   was    knowingly   and   voluntarily   entered,    and

 recommending to this Court whether the plea should be accepted.

 Mosley stated that she understood that the magistrate judge is not

 a United States District Judge, and Mosley consented to pleading

 before the magistrate judge.
Case 1:21-cr-00039-TSK-MJA Document 49 Filed 10/25/21 Page 2 of 5 PageID #: 110



 USA v. MOSLEY                                                      1:21-CR-39
        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 48],
          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       Based upon Defendant Mosley’s statements during the plea

 hearing    and   the   Government’s       proffer   establishing    that   an

 independent factual basis for the plea existed, the magistrate

 judge found that Defendant Mosley was competent to enter a plea,

 that the plea was freely and voluntarily given, that she was aware

 of the nature of the charges against her and the consequences of

 her plea, and that a factual basis existed for the tendered plea.

 The magistrate judge issued a Report and Recommendation Concerning

 Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 48] finding a

 factual basis for the plea and recommending that this Court accept

 Defendant Mosley’s plea of guilty to Count Two of the Indictment.

       The magistrate judge released Defendant Mosley on the terms

 of the Order Setting Conditions of Release. [Dkt. No. 15].

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.        He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.            Neither the Defendant

 nor the Government filed objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 48], provisionally ACCEPTS Defendant Mosley’s guilty

                                       2
Case 1:21-cr-00039-TSK-MJA Document 49 Filed 10/25/21 Page 3 of 5 PageID #: 111



 USA v. MOSLEY                                                    1:21-CR-39
        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 48],
          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

 plea, and ADJUDGES her GUILTY of the crime charged in Count Two of

 the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until

 it has received and reviewed the presentence investigation report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.     The Probation Officer shall undertake a presentence

 investigation of Mosley, and prepare a presentence investigation

 report for the Court;

       2.     The Government and Defendant Mosley shall each provide

 their narrative descriptions of the offense to the Probation

 Officer by November 8, 2021;

       3.     The presentence investigation report shall be disclosed

 to Defendant Mosley, counsel for Defendant, and the Government on

 or before January 10, 2022; however, the Probation Officer shall

 not disclose any sentencing recommendations made pursuant to Fed.

 R. Crim. P. 32(e)(3);

       4.     Counsel may file written objections to the presentence

 investigation report on or before January 24, 2022;

                                       3
Case 1:21-cr-00039-TSK-MJA Document 49 Filed 10/25/21 Page 4 of 5 PageID #: 112



 USA v. MOSLEY                                                    1:21-CR-39
        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 48],
          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       5.    The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before

 February 7, 2022; and

       6.    Counsel may file any written sentencing memorandum or

 statements      and    motions   for   departure   from   the   Sentencing

 Guidelines, including the factual basis for the same, on or before

 February 14, 2022.

       The Court further ORDERS that prior to sentencing, counsel

 for Defendant review with her the revised Standard Probation and

 Supervised Release Conditions adopted by this Court on November

 29, 2016, pursuant to the standing order entered by Chief Judge

 Groh, In Re: Revised Standard Probation and Supervised Release

 Conditions, 3:16-MC-56.

       The Court will conduct the Sentencing Hearing for Defendant

 on March 14, 2022, at 11:00 A.M., at the Clarksburg, West Virginia

 point of holding court.          If counsel anticipates having multiple

 witnesses    or   an   otherwise   lengthy   sentencing   hearing,   please

 notify the Judge’s chamber staff so that an adequate amount of

 time can be scheduled.

       It is so ORDERED.




                                        4
Case 1:21-cr-00039-TSK-MJA Document 49 Filed 10/25/21 Page 5 of 5 PageID #: 113



 USA v. MOSLEY                                                    1:21-CR-39
        ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 48],
          ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: October 25, 2021


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




                                       5
